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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


POPTECH, L.P., individually, and on behalf of a
                                       )
class of others similarly situated,    )
                                       )                    CIVIL ACTION NO.:
             Plaintiff,                )                    3:10-cv-00967 (MRK)
                                       )
       v.                              )
                                       )
STEWARDSHIP CREDIT ARBITRAGE FUND, )
LLC; STEWARDSHIP INVESTMENT            )
ADVISORS, LLC; ACORN CAPITAL GROUP, )
LLC; MARLON QUAN; GUSTAVE ESCHER,      )
III; PAUL SEIDENWAR; and ROBERT BUCCI, )
                                       )
             Defendants.               )                    February 14, 2011



                    ROBERT BUCCI’S MOTION TO DISMISS
        COUNTS II AND IV OF THE AMENDED CLASS ACTION COMPLAINT



       Pursuant to Federal Rules of Civil Procedure 9(b), 12(b)(1) and 12(b)(6) and the Private

Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4 (“PSLRA”), defendant Robert

Bucci moves to dismiss Counts II and IV of the Amended Class Action Complaint, filed

December 13, 2010 (“Amended Complaint”), for lack of subject matter jurisdiction and failure to

state a claim on which relief can be granted, in that: (a) the plaintiffs lack standing, since the

claims that they purport to assert directly are in fact derivative claims on behalf of the

Stewardship Credit Arbitrage Fund, LLC; (b) the Amended Complaint fails to plead with the

requisite specificity causes of action for (i) control person liability under section 20(a) of the

Securities Act of 1934, 15 U.S.C. § 78t(a); and (ii) aiding and abetting violations of the

Connecticut Uniform Securities Act; Conn. Gen. Stat. § 36b-29; and (c) there is no basis for the
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exercise of supplemental jurisdiction over Count IV. The reasons supporting this motion are

fully explained in the accompanying memorandum of law.




                                                Robert Bucci,



                                         By:    ___/s/ Ian E. Bjorkman___________
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                                                His Attorney




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                               CERTIFICATION

I hereby certify that on February 14, 2011 a copy of foregoing Motion for
Extension of Time was filed electronically. Notice of this filing will be sent by e-
mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF
System.




                                              __/s/ Ian E. Bjorkman____________
                                              Ian E. Bjorkman




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